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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION

                   Karen E. Schreier United States District Judge Presiding

Courtroom Deputy - SLW                                 Court Reporter – FTR
Courtroom - SF #2                                      Date – August 7, 2017
U.S. Probation Officer – Shelly Schenkel

                                        CR16-40109-01

United States of America                                            John Haak

                  Plaintiff,

                     vs.

Anthony Vincent Sozzi                                             Ryan Kolbeck


                 Defendant.


TIME HEARING SCHEDULED TO BEGIN: 10:00 a.m.

TIME:
10:02 a.m.    Enter contested sentencing before the Hon. Karen E. Schreier, United
              States District Judge, Sioux Falls, SD. Counsel state their appearances for the
              record. Defendant is also present in Court.

              The Court confirms that defense counsel has had the opportunity to review the
              PSR with their client.

              The Court rules on objections.

              Counsel agree to the applicable Total Offense Level, Criminal History Category,
              and Advisory Guideline Ranges.

              The Court notes the documents reviewed prior to sentencing.

              Counsel for the Defendant addresses the Court before sentencing.
              Defendant addresses the Court.
              Counsel for the USA addresses the Court before sentencing.
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                The Court states the sentence to be imposed and states the reasons therefore: 57
                months imprisonment; 3 years supervised release; $100 special assessment;
                forfeiture of firearm and ammunition.

                Neither counsel sees any reason why the sentence cannot be imposed as stated.

                Defendant notified of appeal rights and understands these rights.

10:54 a.m.      Court in recess.
